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  IT IS ORDERED as set forth below:



      Date: March 25, 2020
                                                        _________________________________

                                                                 Barbara Ellis-Monro
                                                            U.S. Bankruptcy Court Judge


 ________________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:

 SHIRLEY LETT,                                                CASE NO. 10-61451-BEM

           Debtor.
                                                              CHAPTER 7

 SHIRLEY WHITE-LETT,

           Plaintiff,
                                                              ADVERSARY PROCEEDING NO.
 v.                                                           20-6031-BEM

 BANK OF NEW YORK MELLON
 CORPORATION, SELECT PORTFOLIO
 SERVICING, LLC, and NEWREZ, LLC, DBA
 SHELLPOINT MORTGAGE SERVICING
 INCORPORATED,

           Defendants.

                                           ORDER

                This matter is before the Court on Select Portfolio Servicing, LLC’s Second Motion

for Extension of Time to Answer Complaint. [Doc. 20]. The Motion requests an extension through
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April 7, 2020. All three defendants in this proceeding requested and obtained an extension of time

to answer through March 24, 2020. [Docs. 9, 12, 13, 14]. In addition, defendants Bank of New

York Mellon and New Rez, LLC have filed answers. [Docs. 10, 11].

               On March 19, 2020, Debtor requested alias summonses for all defendants. [Doc.

16]. The summonses were re-issued on March 19, 2020 with a deadline to answer of April 20,

2020. [Doc. 17]. As Bank of New York Mellon and New Rez have already filed answers, the new

answer deadline does not apply to them, but it does apply to Movant. Because the new deadline

exceeds the extension requested in the Motion, the Motion is moot. Accordingly, it is

               ORDERED that the Motion is DENIED as moot.

                                       END OF ORDER




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